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                            UNITED STATES DISTRICT COURT

                                     DISTRICT OF MINNESOTA

Jonathon Ziesmer,                                 Court File No. 12-CV-03031 (PAM/JJK)

                        Plaintiff,

       vs.                                                          DEFENDANT’S
                                                                MOTIONS IN LIMINE
Derrick Lee Hagen,

                        Defendant.


TO:    Plaintiff above named and Christopher J. Kuhlman, Esq., Kuhlman Law, PLLC,
       Union Plaza, Suite 300, 333 Washington Avenue North, Minneapolis, MN 55401

       NOW COMES Defendant Derrick Lee Hagen (“Defendant”), by and through the

undersigned counsel, with his Motions in Limine. Defendant hereby moves the Court for

the following relief:

                                           MOTIONS

       1.     An Order precluding Plaintiff from introducing testimony from any of his

treating physicians or other medical personnel.

       2.     An Order prohibiting Plaintiff, his counsel, or any non-expert witness from

introducing testimony that Plaintiff has been diagnosed or self-diagnosed himself with

any specific injury and/or medical condition or that such claimed injury and/or medical

condition was caused by any action or inaction of Defendant.
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       3.     An Order prohibiting Plaintiff, his counsel, or any witness from eliciting or

presenting testimony, documentary evidence, information, allegations, or argument

regarding the dismissal of criminal charges against Plaintiff.

       4.     An Order prohibiting Plaintiff, his counsel, or any witness from eliciting or

presenting testimony, documentary evidence, information, allegations, or argument

regarding any medical, cognitive, emotional, behavioral, learning, or other difficulties

suffered by Plaintiff as a result of Alpha 1 Antitrypsin Deficiency.

       5.     An Order prohibiting Plaintiff, his counsel, or any witness from eliciting or

presenting testimony, documentary evidence, information, allegations, or argument

regarding the Minnesota State Patrol’s defense and indemnification of Defendant.

       6.     An Order prohibiting Plaintiff, his counsel, or any witness from eliciting or

presenting testimony, documentary evidence, information, allegations, or argument

regarding the policies or procedures of the Minnesota State Patrol.

       7.     An Order prohibiting Plaintiff, his counsel, or any witness from eliciting or

presenting testimony, documentary evidence, information, allegations, or argument

regarding publicized events of police misconduct.

       8.     An Order sequestering non-party witnesses from opening statements and

the testimony of other witnesses pursuant to Federal Rule of Evidence 615.

                                   Signature on Page 3




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Dated: July 20, 2015                 OFFICE OF THE ATTORNEY GENERAL
                                     State of Minnesota

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